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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         CENTRAL DIVISION
UNITED STATES OF AMERICA

VS.                                            4:04CR00141-10-JM

J.C. COLLINS

                                                    ORDER

          For all the reasons previously stated,1 which were affirmed by the Court of Appeals for

the Eighth Circuit,2 Defendant’s third Motion for Compassionate Release (Doc. No. 963) is

DENIED. Furthermore, Defendant’s argument about sentencing disparities for

methamphetamine is without merit. If sentenced today, Defendant still would have a guideline

range of life. Finally, as set out in the October 20, 2020 Order, the § 3553(a) factors weigh

against granting compassionate release.3

          IT IS SO ORDERED, this 29th day of September, 2021.

                                                    _________________________________________
                                                    UNITED STATES DISTRICT JUDGE




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1
    Doc. Nos. 943, 955.
2
    Doc. Nos. 952, 961.
3
    Doc. No. 943.
